                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                               AT GREEN BAY
______________________________________________________________________________

BRIAN G. HEYER,                                            CASE NO. 1:19-cv-00015-WCG
           Plaintiff,

       vs.
                                                           Chief Judge William C. Griesbach
EXPERIAN INFORMATION SOLUTIONS,
INC.; TRANS UNION, LLC; EQUIFAX INC.;
and EQUIFAX INFORMATION SERVICES, LLC;
            Defendants.
______________________________________________________________________________

   ORDER GRANTING JOINT STIPULATION REGARDING WITHDRAWAL OF
  PLAINTIFF’S MOTION TO STRIKE AND TRANS UNION LLC’S AFFIRMATIVE
                                DEFENSES #1-5
______________________________________________________________________________

       Plaintiff Brian Heyer, and Defendant Trans Union, LLC, by counsel, having filed their

Joint Stipulation Regarding Withdrawal Of Plaintiff’s Motion To Strike And Trans Union LLC’s

Affirmative Defenses #1-5, AND THE COURT, having been duly advised, NOW FINDS that the

same should be granted.

       IT IS, THEREFORE, ORDERED that Plaintiff’s Motion To Strike and Trans Union LLC’s

Affirmative Defenses #1-5 are withdrawn.



Date: ________________________                       ____________________________________
                                                     JUDGE, United States District Court,
                                                     Eastern District of Wisconsin




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